                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE NORTHERN DISTRICT OF OHIO
                                              EASTERN DIVISION




LARRY REID, ET AL.,                                            )      CASE NO. 1:21-CV-991
                                                               )
           Plaintiff,                                          )
                                                               )
v.                                                             )      JUDGE JAMES S. GWIN
                                                               )
DARRYL MOORE,                                                  )      REPORT OF PARTIES' PLANNING
                                                               )      MEETING UNDER FED. R. CIV.
           Defendant.                                          )      P. 26(f) AND LR 16.3(b)(3)




           1.         Pursuant to Fed. R. Civ. P. 26(f) and LR 16:3(b)(3), a meeting was held on
           01 SEP 2021
           _________________ and was attended by:
                                                                   Larry Reid &
       Raymond V. Vasvari, Jr.                                     Larry Reid Live. L.L.C.
                                   counsel for plaintiff(s)

                                   counsel for plaintiff(s)

     Frederick D. Middleton, Jr.                                   Darryl Moore
                                   counsel for defendant(s)

                             counsel for defendant(s)
                      The parties:
           2.
                      have not been required to make initial disclosures by a specific order, but
            x
                      will do so prior to the Initial Case Management Conference.

                      have exchanged the pre-discovery disclosures required by Fed. R. Civ. P.
                      26(a)(1) and the Court's prior order.




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3.     The parties recommend the following track:

       Expedited                   x       Standard

Administrative                 Complex

       Mass Tort




4.     This case is suitable for one or more of the following Alternative Dispute

Resolution ("ADR") mechanisms:

                 Early Neutral Evaluation

       x         Mediation

                 Arbitration

                 Summary Jury Trial

                 Summary Bench Trial

                 Case not suitable for ADR




5.     The parties      do/ x do not consent to the jurisdiction of the United States

Magistrate Judge pursuant to 28 U.S.C. § 636©.




6.     Recommended Discovery Plan:


(a) Describe the subjects on which discovery is to be sought and the nature and extent

of discovery.

The circumstances surrounding the publication of the statements alleged



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in the Complaint and in the Counterclaim to be defamatory or otherwise

tortiuous; the underlying veracity of those statements; the identity of other

persons party to those publications; the knoweldge and malice of those

making the statements; the discovery of the underlying videos published;

and damages.




(b) The parties (indicate one):

_____agree that there will be no discovery of electronically stored

information; or

_____have agreed to a method for conducting discovery of

electronically stored information; or

x
_____have agreed to follow the default standard for discovery of

electronically stored information (Appendix K to Northern District

Ohio Local Rules).



                           April 1, 2022
(c) Discovery cut-off date:__________




7.     Recommended dispositive motion date: May 13, 2022




8.     Recommended cut-off date for amending the pleadings and/or adding additional

parties: September 22, 2021



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9.    Recommended date for a Status Hearing: January 7, 2022


10.   Other matters for the attention of the Court:




                           Attorney for Plaintiff(s) Larry Reid &

                            Larry Reid Live, L.L.C.

                           Attorney for Plaintiff(s)

                            /s/ Frederick D. Middleton, Jr. *

                           Attorney for Defendant(s) Darryle Moore



                           Attorney for Defendant(s)


                                *By R. Vasvari with Email
                                 Consent Obtained September 2, 2021.




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